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06/12/15
                                     United States District Court
                                     Northern District of Illinois

                             Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket. A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted.



       Case Number: 18-cv-05344

       Case Title: Dan T. Evans v. Nationstar Mortgage, LLC

       Judge: Hon. John Robert Blakey



       Name of Attorney submitting the motion to withdraw:
        Patrick D. Joyce

       Name of Client:
        Dan T. Evan


       Mailing address of Client: 3015 19th Place

       City: North Chicago                             State: Illinois

       Zip: 60064                          Telephone Number: 224-587-7785


       I attest that the above information is true and correct to the best of my
       knowledge.

Signed: ________________________________________________________

Date: 9/20/2023
